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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  NEWNANDIVISION

IN   RE:                                       )
                                              )       CHAPTER     13
Charles William Fuller,   Sr.                  )
                                               )      CASE   NO. I6-12148-LRC
         DEBTOR                                )
                                               )

                     NOTICE OF DEPOSIT OF UNCLAIMED FUNDS

        Melissa J. Davey, standing chapter 13 Bankruptcy Trustee, files this Notice that she is
remitting the amount of $2243.94 to the Registry of the Clerk of the United States Bankruptcy
Court on behalf of Charles William Fuller, Sr.. These funds are being remitted to the Registry
because the aforementioned party has not claimed the funds.

Dated:   512512022                                        Respectfully submitted,

                                                          Melissa J. Davey
                                                          Chapter 13 Trustee
                                                          Georgia Bar No. 2063 10
                                                          233 Peachtree Street, NE Suite 2250
                                                          Atlanta, GA 30303
                                                          Telephone: 678-5 10-1444
                                                          Fax:         678-510-1450
                                                          mail@ I 3 trusteeatlanta.com
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                                  Document      Page 2 of 2


                         UNITED STATES BAI{KRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 NEWNAN DIVISIQN

IN RE:                                           )
                                                 )       CHAPTER      13
Charles William Fuller, Sr.                      )
                                                 )       CASENO. 16-I2148.LRC
         DEBTOR                                  )
                                                 )


                                CERTIFICATE OF SERVICE

        I ceftiry that on this day I caused a copy of this chapter 13 Trustee's Notice of Deposit of
Ijnclaimed Funds to be served via United States First Class Mail with adequate postage prepaid
on the following parties at the address shown for each:


DEBTOR(S):
Charles William Fuller, Sr.
P.O. BOX 211
LAGRANGE,GA 30241

         I further certifu that I have on this day electronically filed the foregoing chapter 13
Trustee's Notice of Deposit of Unclaimed Funds using the Bankruptcy Court's Electronic Case
Filing program, which sends a notice ofthis document and an accompanying link to this document
to thi following parties who have appeared in this case under the Bankruptcy Court's Electronic
Case Filing program:

Attorncy for the Debtor(s):
HARMON & GOROVE. ATTYS

                                                             Respectfu     lly submitted,
Dated: May 25,2022.
                                                             Melissa J. Davey
                                                             Chapter 13 Trustee
                                                             Georgia Bar No. 2063 10
                                                             233 Peachtree Street, NE Suite 2250
                                                             Atlanta, GA 30303
                                                             Telephone: 678-5 l0-1444
                                                              Fax:      678-510-1450
                                                             mail@1 3trusteeatlanta.com
